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                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO



UNITED STATES OF AMERICA,                    )               CASE NO. 1:13cr00031-010
                                             )
       Plaintiff,                            )               JUDGE: JAMES S. GWIN
                                             )
vs.                                          )               ORDER
                                             )
JOHN CHILDREY,                               )
                                             )
       Defendant.                            )



       This matter was heard on October 5, 2015, upon the request of the United States Pretrial

and Probation Office for a finding that defendant violated the conditions of supervised release.

The defendant was present and represented by Darin Thompson.

       The supervised release violation report was referred to Magistrate Judge Greg White on

August 19, 2015 [Doc. 354]. A Report and Recommendation was issued on September 15, 2015

[Doc. 358]. No objections to the Report and Recommendation having been filed the Court found

that the following terms of supervision had been violated:

               1) failure to adhere to Drug Aftercare.

       Therefore, the defendant is committed to the Bureau of Prisons for a term of six months

and is granted credit for time served in federal custody on the instant violation. Upon release

from incarceration defendant shall serve another year of supervised release under the conditions

earlier imposed.
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       The defendant is remanded to the custody of the U.S. Marshal, Cleveland, Ohio.



Dated: October 6, 2015                            s/ James S. Gwin
                                                  JAMES S. GWIN
                                                  UNITED STATES DISTRICT JUDGE
